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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE



 KRISTINE THAYER,                 )
                                  )
               Plaintiff          )
                                  )
 v.                               )                      No. 1:09-CV-00019-MJK
                                  )
 EASTERN MAINE MEDICAL CENTER and )
 MOHAMMED TABBAH,                 )
                                  )
               Defendants         )


                         ORDER ON POST-TRIAL MOTIONS

        Following the Jury's verdict on July 22, 2010, plaintiff Kristine Thayer and

 defendants Eastern Maine Medical Center and Mohammed Tabbah all filed post-trial

 motions. Dr. Thayer has moved for a new trial pursuant to Rule 59 of the Federal Rules

 of Civil Procedure on both counts of her complaint and against both defendants. In the

 alternative, she asks that the Court's judgment be amended as to Count I in order to award

 her injunctive relief, declaratory relief, and nominal damages against Eastern Maine

 Medical Center. (Mot. to Amend J. and for New Trial, Doc. No. 160.) Dr. Thayer has

 also requested attorney fees and costs under the Maine Human Rights Act based upon her

 contention that she prevailed on Count I of her complaint. (Mot. for Att'y Fees and

 Costs, Doc. No. 161.) In the Defendants' renewed motion for judgment, Eastern Maine

 Medical Center argues it is entitled to judgment as a matter of law on Count I because

 there is insufficient evidence to support the Jury's finding that Eastern Maine Medical
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 Center took adverse employment action against Dr. Thayer in retaliation for

 whistleblower activity. For his part, Dr. Tabbah argues he is entitled to judgment as a

 matter of law on Count II because any defamatory statement he made regarding Dr.

 Thayer was privileged and the privilege was not abused. (Defs.' Renewed Mot. for J.,

 Doc. No. 164.) Defendants' renewed motion for judgment is denied. Plaintiff's request

 for a new trial is also denied. However, Plaintiff's request for an amended judgment is

 granted, in part. Plaintiff's motion for attorney fees and costs is granted in a substantially

 reduced amount.

                                     THE BACKGROUND

        Dr. Thayer's motion for new trial on Count I, the whistleblower retaliation claim,

 is predicated on an alleged error in evidentiary rulings. The evidentiary rulings in

 question have already been the subject of a written order (Doc. No. 117 at 7-10) and the

 salient background will be related, below, in the discussion portion of this order. The

 background presented here simply provides a backdrop for the other post-trial motions.

 The parties have not marshaled the testimony and exhibits in support of their motions

 except in the most general sense and this order will not provide an elaborate recounting

 of specific testimony or exhibits that the parties themselves have not brought into focus.

        Kristine Thayer, M.D., a surgeon, sued her former employer, Eastern Maine

 Medical Center, under Maine's Whistleblowers' Protection Act, 26 M.R.S. §§ 831-840,

 claiming that the hospital retaliated against her for complaining about another physician's

 practices, resulting in her constructive discharge. She sought "back pay, front pay,

 compensatory damages, punitive damages, attorney's fees, interest, costs and such further

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 relief as the court deems just." (Am. Compl. Count I ¶ 37, Doc. No. 31.) Dr. Thayer also

 sued Dr. Mohammed Tabbah, the physician about whom she complained, alleging

 defamation in the form of slander per se. (Id., Count II.) Although the Jury answered

 some questions on the jury verdict form favorably as to Dr. Thayer's position on both

 claims, the Jury ultimately awarded her no monetary damages against either defendant.

 (Jury Verdict, Doc. No. 156.)

 A.     Count I – Whistleblower Retaliation

        1. A Summary of the Whistleblower Trial

        Eastern Maine Medical Center hired Dr. Thayer to serve as a pediatric surgeon in

 the spring of 2005, after retaining her as a locum tenens in 2004. Dr. Thayer had what

 could be described as an acrimonious professional relationship with Dr. Mohammed

 Tabbah, a pediatric gastroenterologist. She reported to her chief of pediatrics, Dr. Mark

 Brown, that she considered Dr. Tabbah's treatment of certain patients to be below

 standard. There was evidence from which the jurors could find that Dr. Thayer's

 relationship with certain other physicians was negative and confrontational.

        In late 2007, Dr. Brown requested that an Ad Hoc Committee be appointed to

 evaluate whether Dr. Thayer deserved some reprimand or corrective action for being a

 "disruptive physician." An Ad Hoc Committee formed and conducted an investigation

 based on Dr. Brown's charges. At the conclusion of the investigation it recommended to

 the Medical Staff Executive Committee that it adopt a corrective action plan. The

 Executive Committee did so and its plan imposed a requirement on Dr. Thayer that she

 engage in anger management counseling and threatened additional disciplinary action if

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 there were any further disruptive behavior. Meanwhile, Dr. Thayer had taken a leave of

 absence from Eastern Maine Medical Center and chose not to return in light of the

 corrective action plan.

        In her complaint, and at trial, Dr. Thayer alleged that Dr. Brown's decision to refer

 her to peer review before an ad hoc committee was motivated by retaliatory animus for

 her whistleblowing activity concerning Dr. Tabbah's alleged failure to adhere to the

 standard of care in his treatment of certain patients. She also alleged that Dr. Brown

 influenced or manipulated the way that the evidence was presented against her in order to

 cast her in a false light.

        2. The Whistleblower Verdict

        As to Count I, the claim of whistleblower retaliation, the Jury's verdict indicates

 "yes" in response to the question: "Do you find that Eastern Maine Medical Center is

 liable to Dr. Kristine Thayer for violation of the Maine Whistleblowers' Protection Act?"

 However, the Jury responded "-0-" in response to the question: "What amount of

 compensatory damages (other than lost wages and benefits) do you award against Eastern

 Maine Medical Center?"

        The Jury was also asked to indicate whether Dr. Thayer succeeded in proving

 constructive discharge. If so, the Jury was permitted to award damages for lost wages

 and benefits from the date of constructive discharge through the date of the verdict. The

 Jury's response to verdict question 2 reflects a finding that Dr. Thayer was not

 constructively discharged.

        Finally, the Jury was asked to determine whether Dr. Thayer proved malice or

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 reckless indifference in support of an award of punitive damages. The Jury's response to

 verdict question 3 reflects a finding that Dr. Thayer failed to prove malice or reckless

 indifference on the part of Eastern Maine Medical Center.

        Neither the jury instructions nor the verdict form invited an award of nominal

 damages. However, Dr. Thayer made no request for a nominal damages award in her

 proposed jury verdict form (Doc. No. 127) and proposed jury instructions (Doc. No. 125),

 or during any conference on instructions.

        Based on the jury instructions, the Jury's affirmative response to question 1

 reflects a finding that Dr. Thayer engaged in activity protected by the Maine

 Whistleblower Protection Act, that Eastern Maine Medical Center took adverse

 employment action against her after she made the report, and that the hospital did so

 based on a retaliatory motive. The Jury's response as to compensatory damages,

 however, indicates a finding that the Jury was not persuaded by Dr. Thayer's presentation

 on emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,

 and/or other non-monetary loss.

 B.     Count II – Defamation

        1. Summary of the Defamation Trial

        As to the defamation claim, the only issue tried related to statements Dr.

 Mohammed Tabbah made to Elizabeth Britton, whose young son was a patient of Dr.

 Tabbah and underwent surgery performed by Dr. Thayer. The salient evidence consisted

 of the testimony of Elizabeth Britton, her husband Adam Britton, and Dr. Tabbah, and

 certain treatment notes relating to the treatment of Britton's son. The evidence presented

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 to the Jury could support a finding that Dr. Tabbah told Elizabeth Britton that Dr. Thayer

 had cut her son's intestines in connection with a surgical procedure and that Dr. Thayer

 had not actually done so. According to Elizabeth Britton, she understood Dr. Tabbah to

 be saying that a cut to the intestines might be to blame for post-operative discomfort.

 The Jury also could have found that Elizabeth Britton was uncertain about what exactly

 Dr. Tabbah said to her, that she just wanted to know what was going on and what she

 should do about her son, and that she never formed an opinion that Dr. Thayer was not a

 competent surgeon. The Jury was not required to find that Dr. Tabbah called into

 question Dr. Thayer's competence as a surgeon. Dr. Tabbah denied making any

 statement disparaging Dr. Thayer's skills.

        Dr. Thayer sought no special damages and offered no evidence of economic harm

 arising from defamation. Rather, she sought a finding of defamation per se; that Dr.

 Tabbah made false statements related to and directly tending to prejudice or injure her in

 respect to her profession, for which she sought general damages for mental suffering and

 humiliation.

        2. The Defamation Verdict

        On Count II, in response to the verdict form question whether Dr. Tabbah "made a

 false and defamatory statement of fact to Elizabeth Britton concerning Dr. Thayer with

 the required degree of fault," the Jury responded: "Yes." The second verdict form

 question asked: "Do you find that the defamation in question related to and directly

 tended to prejudice or injure Dr. Thayer in respect to her profession?" The Jury

 responded: "No." Because Dr. Thayer did not assert a claim for special damages

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 (specific economic loss arising from the defamation), and because Dr. Thayer had not

 proven defamation per se, there was no basis for the Jury to award any damages under

 Maine law.1 Based on the defamation instructions, the Jury's verdict reflects a finding

 that Dr. Tabbah made a false and defamatory statement concerning Dr. Thayer to patient

 Elizabeth Britton, but that the statement did not directly tend to prejudice or injure Dr.

 Thayer in respect to her profession.

 C.      The Judgment

         Following the return of the Jury's verdict, and after listening to the oral arguments

 of counsel, I directed the clerk to enter judgment for the defendants on both counts of the

 complaint. (Doc. No. 159.) The judgment entered for EMMC reflects that it prevailed

 on Thayer's claims for compensatory damages, exemplary damages, and back pay, the

 only remedies requested from the Jury. (Id.) The Jury's positive response to the verdict

 form question pertaining to EMMC's retaliatory conduct was not incorporated into the

 judgment.

                                                  DISCUSSION

         This discussion is in three parts. Part A addresses Eastern Maine Medical Center's

 and Dr. Tabbah's renewed requests for judgment as a matter of law (Doc. No. 164). Part

 B addresses the varied requests made in Dr. Thayer's motion to amend the judgment and

 for new trial (Doc. No. 160). Part C addresses Dr. Thayer's petition for an award of fees

 and costs (Doc. No. 161).

 1
          Although Dr. Thayer did not request an instruction on nominal damages, she agreed that a nominal
 damages instruction was called for under Maine law in the event that the Jury should find defamation per se but not
 award general damages. Because Dr. Thayer did not attempt to prove special damages arising from defamation and
 because the Jury did not find defamation per se, it could not consider awarding nominal damages.

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 A.     Defendants' Renewed Motion for Judgment as a Matter of Law

        The Defendants argue that, as a matter of law, the evidence presented at trial

 cannot support the plaintiff-favorable findings contained in the Jury's verdict. Eastern

 Maine Medical Center says it could not have violated Dr. Thayer's rights under the

 Whistleblower Protection Act because a committee of impartial physicians agreed to

 impose a corrective action plan on Dr. Thayer and no evidence demonstrated that the

 members of the committee were personally motivated by retaliatory animus or that Dr.

 Brown was motivated by such animus when he initiated the peer review process.

 (Renewed Mot. for J. at 1-2, Doc. No. 164.) Dr. Tabbah says he could not have defamed

 Dr. Thayer because no reasonable jury could find that he abused a conditional privilege

 associated with the doctor-patient relationship. (Renewed Mot. for J. at 3.)

        To grant a Rule 50 motion for judgment as a matter of law, a court must conclude

 that, considering all the evidence in the record, no reasonable jury could have reached the

 same result. Monteagudo v. Asociacion de Empleados del Estado Libre Asociado, 554

 F.3d 164, 170 (1st Cir. 2009). The court must view the evidence in the light most

 favorable to the non-moving party, draw all reasonable inferences in favor of the verdict,

 and disregard evidence favorable to the moving party that the jury was not required to

 accept. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 151 (2000).

        1. EMMC's Motion for Judgment on Count I

        Eastern Maine Medical Center's argument is rejected. Based on all the evidence

 presented at trial, the Jury could reasonably have found that Dr. Thayer's whistleblower

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 activity about Dr. Tabbah was the "but for" cause behind her supervisor's decision to

 institute a corrective action process. Additionally, the weight of the charges presented to

 the committee pertained to activity that the Jury could have regarded as whistleblower

 activity about patient care. Finally, the Jury could have found that the corrective action

 plan imposed by committee action threatened further discipline if Dr. Thayer engaged in

 additional whistleblower activity. Under these circumstances, committee action does not

 insulate Eastern Maine Medical Center against a finding of liability.

        2. Dr. Tabbah's Motion for Judgment on Count II

        Dr. Tabbah's argument is also rejected. Based on the evidence, it is more likely

 than not that the Jury found that a conditional privilege applied with respect to Dr.

 Tabbah's communications with Elizabeth Britton, but that Dr. Tabbah abused the

 privilege by uttering a known falsehood or recklessly stating a falsehood that was not

 supported by the patient's medical records. The most likely finding in this regard is that

 Dr. Tabbah told Elizabeth Britton that Dr. Thayer had cut the child's intestine without

 having any evidence to support the statement. Based on the evidence, there is nothing

 remarkable about such a factual finding.

 B.     Plaintiff's Motion to Amend Judgment and for New Trial

        1. Motion for New Trial on Count I

        Dr. Thayer requests a new trial pursuant to Rule 59. According to the Rule, the

 court may grant a new trial on all or some issues after a jury trial, "for any reason for

 which a new trial has heretofore been granted in an action at law in federal court." Fed.

 R. Civ. P. 59(a)(1). The First Circuit has held that, as a general rule, a verdict may be set

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 aside and new trial ordered when the verdict is against the clear weight of the evidence, is

 based on false evidence, or will otherwise result in a clear miscarriage of justice. Phav v.

 Trueblood, 915 F.2d 764, 766 (1st Cir. 1990).

        Dr. Thayer argues that erroneous evidentiary rulings made Eastern Maine Medical

 Center "appear more benign and Dr. Thayer less so," and "undoubtedly" explain why the

 Jury found a violation of the Whistleblower Protection Act but failed to award

 compensatory damages. (Pl.'s Mot. to Amend J. and for New Trial at 4, Doc. No. 160.)

 This argument arises from my in limine rulings limiting Dr. Thayer's presentation

 concerning two other female physicians who were subject to what Dr. Thayer views as

 discriminatory employment acts by Eastern Maine Medical Center. I entered a written

 order on Dr. Thayer's motion in limine seeking admission of this testimony prior to trial.

 (See Doc. No. 117.) Having now had the benefit of nine days of trial testimony, I am

 even more convinced that the introduction of this testimony would not have assisted the

 Jury in making the determinations it had to make.

        Thayer's other claims of evidentiary error relate to admission of testimony that two

 male physicians received similar corrective action plans during roughly the same time

 period and deposition testimony from a former female pediatric surgeon that she

 voluntarily left the hospital's employ primarily because of a personality conflict with Dr.

 Thayer. The fact that other committees had issued similar corrective action plans was

 offered by Eastern Maine Medical Center to demonstrate lack of discriminatory intent by

 the hospital. The testimony from the pediatric surgeon was offered to show that the

 decision-makers who convened the Ad Hoc Committee that ultimately took corrective

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 action against Dr. Thayer were motivated in part by prior incidents that were not referred

 to the Committee. None of this testimony directly related to the compensatory damages2

 to be awarded to Dr. Thayer in the event that the Jury found the hospital acted with

 retaliatory motivation. The fact that the Jury answered the first question on Count I in the

 affirmative undermines the contention that these evidentiary rulings unfairly prejudiced

 Dr. Thayer. The motion for a new trial based on evidentiary errors is denied.

          2. Motion for New Trial on Count II

          Plaintiff's defamation claim against Dr. Tabbah was a claim of defamation per se,

 premised on the contention that the defamation "related to and directly tended to

 prejudice or injure Dr. Thayer in respect to her profession."3 In the Jury's response to the

 first verdict question, it found that Dr. Tabbah made a false and defamatory statement

 concerning Dr. Thayer. Based on the jury instructions, this means that the Jury found

 that Dr. Tabbah made a statement of fact that would tend to harm Dr. Thayer's reputation

 in the estimation of the community or deter third persons from associating or dealing with

 her. This is the legal definition of a "defamatory" statement. Ballard v. Wagner, 2005

 ME 86, ¶ 10, 877 A.2d 1083, 1087. Because the Jury answered yes to this question (and

 because Dr. Thayer was not alleging any special harm), the verdict form asked the Jury to

 address whether the statement in question also directly tended to injure Dr. Thayer in her

 2
           The testimony concerning the two male physicians who remained at the hospital in spite of being the
 recipients of similar corrective action plans may also have been relevant to the Jury’s consideration of the
 constructive discharge claim. In my view there was nothing unfairly prejudicial about admitting the evidence on
 that issue, even if it did result in the Jury denying the claim for back pay based upon the claim of constructive
 discharge.
 3
           See Marston v. Newavom, 629 A.2d 587, 593 (Me. 1993) ("We previously have stated the standard for
 finding slander per se in terms almost identical to those used by the court as follows: 'If slanderous words . . .
 directly tend to the prejudice or injury of one in his profession, trade or business they are actionable [as slander per
 se].' The instruction was not erroneous.") (citation omitted).

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 profession. The reason for this question was explained in the jury instructions under the

 heading "special harm":

        Ordinarily, in order to be actionable, a defamatory statement must result in
        special harm to the plaintiff. Special harm means a loss having economic
        or pecuniary (monetary) value. However, in some situations, liability for
        defamation exists even in the absence of proof of special harm. One such
        situation is where a false and defamatory statement (or slander) relates to
        the defamed person's fitness to engage in her profession, trade, or business
        and directly tends to prejudice or injure the defamed person in that regard.
        Dr. Thayer does not allege any special harm, but she does allege the kind of
        defamation that concerns her fitness to engage in her profession, trade, or
        business. If you find that all of the other elements of defamation exist and
        that the defamatory statement or statements in question related to and
        directly tended to prejudice or injure Dr. Thayer in respect to her
        profession, then you must return a verdict for Dr. Thayer even in the
        absence of special harm. On the other hand, if you find that all of the other
        elements of defamation exist, but that the defamatory statement in question
        did not tend to prejudice or injure Dr. Thayer in respect to her profession,
        then you cannot find Dr. Tabbah liable.

 During their deliberations the jurors sent a note to the court asking whether the question

 required them to consider a temporal distinction: "Did Tabbah's defamation affect

 Thayer's profession?" or "Could Tabbah's defamation affect Thayer's profession?" (Juror

 Note 2.) With the agreement of counsel for both parties, I provided the jurors with a

 written response informing them that they should concentrate on the point in time when

 the statement was made and that the question they should answer is, "did the statement or

 statements, if you find them to be defamatory, relate to and directly tend to prejudice or

 injure Dr. Thayer in respect to her profession?" (Partial Transcript at 6, Doc. 162.)

 Subsequently, and over the defendant's objection, I brought the jurors into the courtroom

 in order to follow up with an oral instruction informing them that they must find that any

 defamatory words that were uttered were "words that on their face without further proof

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 or explanation injure the plaintiff in her business or occupation, words which by their

 very nature cause an injury to someone in her business or occupation." (Id. at 10.) This

 supplemental instruction was drawn from Ramirez v. Rogers, 540 A.2d 475, 478 (Me.

 1988) ("Specifically, the term slander per se refers to words that on their face without

 further proof or explanation injure the plaintiff in his business or occupation, i.e., are

 defamatory per se.").

        The only logical interpretation of what the Jury found is that Dr. Tabbah made a

 false statement that would tend to lower Dr. Thayer in the estimation of the community,

 if true, but that the statement in question was not the kind of statement that would result

 in such injury "without further proof or explanation." The testimony of the Brittons

 could explain this subtle distinction between defamation and defamation per se.

 Elizabeth Britton's testimony, especially on cross examination, was not very clear. She

 testified, in effect, that Dr. Tabbah said something to the effect that Dr. Thayer had cut

 her son's intestine and that she was left uncertain about what had happened and what

 would happen with her son's condition, but did not ever form an opinion that Dr. Thayer

 was not a competent surgeon. For his part, Adam Britton testified that he spoke with

 Elizabeth after her conference with Dr. Tabbah and that he did not get the impression

 from her that Dr. Tabbah had called into question Dr. Thayer's competence as a surgeon.

        Elizabeth and Adam Britton's testimony provides a reasonable basis for the Jury's

 answer to the question relating to slander per se. Whatever false and defamatory

 statement the Jury found Dr. Tabbah to have uttered, the Jury reasonably concluded that

 Dr. Tabbah's words did not directly tend to prejudice or injure Thayer in her practice as a

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 surgeon without some further proof or explanation. The motion for a new trial on Count

 II is denied.4

           3. Motion to Amend Judgment on Count I

           The district court has substantial discretion to grant or to deny a motion to alter or

 amend judgment brought under Rule 59(e). See In re Spittler, 831 F.2d 22, 25 (1st Cir.

 1987) ("We have repeatedly held that, once the ball has ended, the district court has

 substantial discretion in deciding whether to strike up the band again in order to allow the

 losing party to argue new material or a new theory."). Where, as here, there is no new

 evidence, reversal of an order failing to alter or amend a judgment requires a showing of

 abuse of discretion, or manifest error of law or of fact in the judgment. Id.

           Following the return of the Jury’s verdict, the Clerk, at the Court's instruction,

 entered judgment in favor of Defendant Eastern Maine Medical Center on Dr. Thayer's

 claims for compensatory damages and back pay, and judgment for Defendant Dr. Tabbah

 on the claim for defamation. (Judgment, Doc. No. 159.) Dr. Thayer has moved to alter

 or amend the judgment to reflect judgment in her favor on Count I and for inclusion of an

 4
          The Restatement authors offer the following comment: "With the exception of a slander concerning an
 incumbent of an office not for profit, the charge to be slander actionable per se must be of a sort that tends so to
 lower the professional business or trade reputation of the plaintiff as to be likely to affect his gains in the office."
 Restatement (Second) of Torts § 573 cmt. b. (1977). The Restatement offers an illustration that seems germane to
 the current predicament:

           Single act. A statement imputing a single mistake or act of misconduct in office or in the conduct
           of a business or profession is actionable under the rule stated in this Section only if the act fairly
           implies an habitual course of similar conduct, or the want of the qualities or skill that the public is
           reasonably entitled to expect of persons engaged in such a calling. A statement that a physician
           has killed a patient by an overdose of a drug or that a surgeon has been guilty of negligence in the
           performance of an operation is actionable. . . . . On the other hand, an imputation that a patient
           treated by a physician has died because of unsuccessful treatment in the particular case is not
           necessarily actionable without proof of special harm, since the fallibility of even the most skillful
           practitioners is such that the mistake, if any, may have been an entirely reasonable one. . . . .

 Id. illus. d.

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 award of nominal damages and/or injunctive and declaratory relief. Dr. Thayer bases this

 portion of her motion on the wording of the Maine Human Rights Act, 5 M.R.S. § 4613,

 which provides that the court "must" award an appropriate remedy if the court finds

 unlawful discrimination has occurred: "In any action filed under this Act by the

 commission or by any other person: . . . . B. If the court finds that unlawful

 discrimination occurred, its judgment must specify an appropriate remedy or remedies for

 that discrimination." 5 M.R.S. § 4613(2)(B). The Act lists appropriate remedies that

 "may" be included in the judgment. Id. A "cease and desist" order is allowed, as is an

 order of reinstatement. Id. § 4613(2)(B)(1), (2). In cases of employment discrimination,

 compensatory damages are also allowed. Id. § 4613(2)(B)(8). Nominal awards and

 declaratory relief are not mentioned. Dr. Thayer requests that the Court's judgment be

 amended to include a cease and desist order and an order to "remove" or "expunge" from

 her file the corrective action plan issued by Eastern Maine Medical Center by letter dated

 October 25, 2007. (Mot. to Amend J. at 1-2.) Dr. Thayer also requests an award of

 nominal damages in an unspecified amount. (Id. at 2.)

        Dr. Thayer cites Azimi v. Jordan's Meats, Inc., 456 F.3d 228 (1st Cir. 2006), in

 support of her motion to amend the judgment. In Azimi, Judge Carter presided over a

 race discrimination trial in which a jury returned a verdict that the defendant employer

 discriminated against the plaintiff, but rejected the plaintiff's testimonial evidence and

 found that he had not suffered any compensable injury. Judge Carter entered judgment

 for the defendant on the verdict. Following post-trial motions, Judge Carter entered

 declaratory relief for the plaintiff, but denied an award of nominal damages because the

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 plaintiff "never requested that the jury be instructed on the issue of nominal damages

 [and] never requested an award of nominal damages [from the Court] based on the jury's

 liability verdict." Azimi v. Jordan's Meats, Inc., 382 F. Supp. 2d 154, 157 (D. Me. 2005).

 On appeal, the First Circuit upheld Judge Carter's decision to withhold a nominal

 damages award based on decisional law that nominal damages can be forfeited and that a

 liability verdict does not compel such an award if a timely request is not made. Azimi,

 456 F.3d at 240. The First Circuit observed that civil rights law in this Circuit is

 plaintiff-friendly because it permits a plaintiff to request nominal damages from the trial

 court upon or immediately after the return of the verdict. Id. (quoting Campos-Orrego v.

 Rivera, 175 F.3d 89, 98-99 (1st Cir. 1999) (affirming award of nominal damages in §

 1983 case based on plaintiff's "sufficiently prompt post-verdict request")). Of course,

 because the issue in this case arises under Maine law, this precedent is not binding.

        Ultimately, Thayer's only authority is Section 4613 of the Maine Human Rights

 Act, which requires that the Court's judgment award an appropriate remedy where

 unlawful discrimination has been found. As for an appropriate award to enter in light of

 the Jury's verdict, the Judgment will be amended to include a declaration of the Jury's

 affirmative verdict on Count I, question one. However, Dr. Thayer's request for a cease

 and desist order is denied. The Jury found that Dr. Thayer voluntarily resigned and in

 light of the fact that Dr. Thayer is no longer an employee of Eastern Maine Medical

 Center, the circumstances do not call for a cease and desist order. Nothing in Dr.

 Thayer's presentation persuades me that a cease and desist order would materially alter

 the parties' relationship or preserve a right held by Dr. Thayer that is otherwise apt to be

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 violated. Dr. Thayer also requests an order that the corrective action letter be expunged

 from her employment record. This request is also denied. The declaratory relief

 resulting from this order is a sufficient caution for Eastern Maine Medical Center insofar

 as any future action or representation concerning Dr. Thayer's employment history is

 concerned.

          The final question is whether to award nominal damages. Section 4613 does not

 speak of nominal damages, though it does recognize a right to compensatory relief. The

 Maine Supreme Judicial Court, sitting as the Law Court, has not yet addressed whether a

 successful plaintiff in an action to vindicate human rights is entitled to an award of

 nominal damages when compensatory damages are not awarded. Maine common law

 concerning nominal damages does indicate, however, that in certain categories of

 intentional torts—invasion upon land (trespass) and invasion upon a personal, dignitary

 interest—nominal damages may be presumed upon a finding that the invasion occurred.

 Medika v. Watts, 2008 ME 163, ¶ 5, 957 A.2d 980, 982 (trespass); Gaffny v. Reid, 628

 A.2d 155, 158 (Me. 1993) ("Some damage is presumed to flow from a legal injury to a

 real property right."); Knight v. Penobscot Bay Med. Ctr., 420 A.2d 915, 918 (Me. 1980)

 (intrusion upon solitude).5 Although the Law Court has not issued similar opinions in

 relation to all of the intentional torts, it has held that nominal damages are appropriate in

 cases of assault and battery where no actual injury is caused. Parker v. Kirkpatrick, 124

 Me. 181, 184, 126 A. 825, 826 (1924) (holding in an action for assault and battery that

 5
           The Law Court has held that it is not manifest error to decline to instruct a Jury as to nominal damages in a
 case involving an intentional tort, particularly where the plaintiff may have made "the tactical choice . . . to avoid an
 instruction on 'presumed' damages . . . because he wanted the Jury to think only in terms of a large award of
 damages." Knight, 420 A.2d at 919.

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 plaintiff "was entitled to only nominal damages," in the context of reducing a larger

 award).

         Ultimately, Dr. Thayer's request for nominal damages and Eastern Maine Medical

 Center's opposition are driven entirely by their respective concern over the motion for

 attorney's fees and costs. Presumably the parties would not ask their lawyers to expend

 their time fighting over a negligible sum of money were it not for the fee motion. Their

 real concern is that the law related to fee-shifting awards tends to favor a party who has

 won some underlying monetary award.6 It seems strange to think that the presence or

 absence of a one dollar award would have such dire consequences, but Eastern Maine

 Medical Center goes so far as to argue that entry of such an award would violate the U.S.

 Constitution. (Opp'n to Pl.'s Mot. to Amend J. at 2, Doc. No. 163.) Despite my

 trepidation at this suggestion,7 I find it "appropriate" under 5 M.R.S. § 4613 to award Dr.

 Thayer one dollar ($1.00) in light of the Jury's finding that Eastern Maine Medical Center

 violated the Maine Whistleblower Protection Act, an intentional violation of a human

 right protected under Maine law.

         Accordingly, the Clerk is instructed to amend the judgment so that the second


 6
            The First Circuit has affirmed a punitive damages award in the absence of an award of compensatory
 damages or nominal damages and suggested that nominal damages would be an entitlement upon a timely request
 for additur. De Jesus Nazario v. Rodriguez, 554 F.3d 196, 205-6 & n.12 (1st Cir. 2009).
 7
            The addition of a nominal damages award in the amount of $1.00 does not "re-examine" any "fact tried by
 a Jury," U.S. Const. amend. VII, because it is consistent with the Jury's findings both that Eastern Maine Medical
 Center intentionally violated Dr. Thayer's rights and that Dr. Thayer did not prove any emotional pain, suffering,
 inconvenience, mental anguish, loss of enjoyment of life, and other non-monetary losses. This order does not
 attempt to determine whether an award of nominal damages is a legal entitlement under Maine law where a violation
 of the Whistleblower Protection Act is established, but if it is an entitlement, this would further undermine the
 suggestion that the Seventh Amendment is in issue. Robinson v. Cattaraugus County, 147 F.3d 153, 162 (2d Cir.
 1998) ("Although the Seventh Amendment generally prohibits a court from augmenting a Jury's award of damages, .
 . . that proscription is not violated by the court's entering judgment awarding nominal damages when the Jury has
 failed or refused to do so and the claimant is entitled to such damages as a matter of law.") (citations omitted).

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 paragraph reads as follows:

           Based on the Jury's verdict so finding, the Court declares that Eastern
        Maine Medical Center violated Plaintiff Kristine Thayer's rights under the
        Whistleblower Protection Act. Because compensatory damages were not
        awarded by the Jury, judgment is hereby entered for the Plaintiff Kristine
        Thayer as against Defendant Eastern Maine Medical Center in the sum of
        $1.00 on Count I.

 C.     Plaintiff's Motion for Attorney's Fees and Costs

        Finally, Dr. Thayer requests an award of attorney's fees and costs based on the

 Jury's finding that Eastern Maine Medical Center violated her rights under the Maine

 Whistleblower Protection Act and based on the provision of the Maine Human Rights

 Act that allows a court, "in its discretion," to make a fee- and cost-shifting award to a

 "prevailing party." 5 M.R.S. § 4614. Dr. Thayer argues that such an award is appropriate

 in this case to safeguard and encourage private enforcement of important statutory rights.

 She allows in her motion that any award should be reduced by 20% in light of her failure

 to obtain an award of compensatory damages. (Pl.'s Mot. for Att'y Fees and Costs at 2-3,

 Doc. No. 161.)

        In opposition to the fee request, Eastern Maine Medical Center argues that Dr.

 Thayer is not really a prevailing party under the Maine Human Rights Act. According to

 Eastern Maine Medical Center, Dr. Thayer cannot be regarded as a prevailing party

 because the Jury did not award her any monetary relief and because the Court so

 recognized when it entered judgment for the defendants following return of the verdict.

 Eastern Maine Medical Center directs the Court to Maine Human Rights Commission v.

 Allen, 474 A.2d 853, 857-88 (Me. 1984), where the Law Court held that prevailing party


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 status under the Maine Human Rights Act should be evaluated consistently with First

 Circuit law related to 42 U.S.C. § 1988, the fee-shifting statute applicable to federal civil

 rights litigation. (Obj. to Pl.'s Fee Mot. at 1-2, Doc. No. 165.)

        In Allen, the Law Court held that a party should receive a fee-shifting award, so

 long as prevailing party status is shown. Id. at 858. As for the standard to govern such

 awards, the Law Court pointed to the test stated in Wyman v. Inhabitants of the Town of

 Skowhegan, 464 A.2d 181, 183 (Me. 1983), where the Law Court adopted a standard

 enunciated by the First Circuit in Nadeau v. Helgemoe, 581 F.2d 275, 279-81 (1st Cir.

 1978). That standard was designed to address prevailing party status when litigation is

 resolved by means of a consent decree, but the standard is not dissimilar to the standard

 applied when litigation concludes by judgment on a jury verdict: the litigation must have

 compelled a material alteration in the parties' legal relationship for the benefit of the

 plaintiff. Wyman, 464 A.2d at 183-84. A plaintiff need not win on all issues to meet this

 standard, but a significant issue must be resolved so that the plaintiff achieves some of

 the benefit sought through litigation. Id. at 184. Since Wyman, the Supreme Court has

 held that a party who obtains a nominal damages award is a prevailing party for purposes

 of civil rights litigation under Section 1988. Farrar v. Hobby, 506 U.S. 103, 112 (1992).

        Dr. Thayer is a prevailing party under Maine law. Dr. Thayer's primary objective

 in this litigation was to clear what she regarded as a serious cloud on her professional

 record. By means of this litigation she convinced the Jury that she was not disciplined

 for being a disruptive physician, but for complaining about another doctor's practices and

 raising patient safety concerns. The Jury's finding that Eastern Maine Medical Center

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 subjected Dr. Thayer to a corrective action plan because she complained about another

 doctor's practices in relation to a standard of care is a significant finding, one that,

 arguably, casts a more negative light on Eastern Maine Medical Center than any award of

 compensatory damages would. As a legal matter, Dr. Thayer recovered a measure of

 dignity, though she obtained no monetary compensation. She also called into question

 the propriety of Eastern Maine Medical Center’s practices by demonstrating retaliatory

 animus with respect to whistleblower activity associated with patient care. The mere fact

 that the Jury found that Dr. Thayer did not suffer emotional harm, or that her subjective

 experience of emotional harm was unreasonable in light of the overall circumstances, or

 that it might have been avoided through a reasonable course of action, does not negate the

 fact that she succeeded in proving that Eastern Maine Medical Center violated her rights

 and won back a measure of gravitas that had been taken from her by Eastern Maine

 Medical Center.

        In Chalout v. Interstate Brands Corp., 296 F. Supp. 2d 2 (D. Me. 2004), Judge

 Carter awarded attorney's fees in a Maine Human Rights Act case where the plaintiff

 obtained an award of $1.00 on a jury verdict. Although the defendant in that case did not

 dispute the plaintiff's status as a prevailing party, and although Judge Carter recognized

 that Farrar, 506 U.S. at 115, suggests that a nominal damages award makes it reasonable

 to deny a fee-shifting award altogether, I agree with his assessment that a verdict finding

 unlawful discrimination or retaliation represents "a measure of success and serv[es] a

 public good through the potential of its future deterrent impact." Chalout, 296 F. Supp.

 2d at 4. Making a fee-shifting award under the circumstances will also afford some

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 measure of assurance to attorneys who are considering whether to represent individuals

 alleging illegal retaliation. The appropriate resolution, under the circumstances, is to

 make a fee-shifting award for time expended by counsel on the whistleblower claim, but

 significantly reduce the award to account for limited success. De Jesus Nazario v.

 Rodriguez, 554 F.3d 196, 207 (1st Cir. 2009); see also O'Connor v. Huard, 117 F.3d 12,

 17-18 (1st Cir. 1997); Chalout, 296 F. Supp. 2d at 4.

        1. The lodestar figure

        To determine the lodestar, the number of hours productively spent are multiplied

 by a reasonable hourly rate to calculate a base figure. The number of hours may be

 adjusted to remove time that was unreasonably, unnecessarily, or inefficiently devoted to

 the case. Hours spent on failed claims are disallowed. De Jesus Nazario, 117 F.3d at

 207. Thayer’s counsel claims over $140,000.00 as the appropriately reduced lodestar

 figure that should be awarded. He claims to have made deductions for the defamation

 claim and the gender discrimination claim.

        The affidavits filed in support of Plaintiff's motion for fees support an hourly rate

 of $225.00 for Attorney Baber's work in this case. However, they do not offer any

 support for the rates assigned to other counsel or to paralegal effort. As a result, I have

 excluded all billings other than those for Attorney Baber's time. The affidavits, billing

 exhibits, and concessions made by Dr. Thayer in her reply memorandum (Doc. No. 167)

 reflect that a reasonable loadstar calculation for the whistleblower claim is as follows:




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               a. April 3, 2008—December 4, 2008

        Attorney Baber has submitted billings for 24.3 hours of his time through

 December 4, 2008, which amounts to $5467.50. Dr. Thayer concedes that time spent

 between August 3, 2008, and December 4, 2008, should be reduced by 40% to account

 for time spent on other theories of liability, including a gender discrimination theory

 abandoned prior to trial. My impression is that gender discrimination was a major focus

 for Dr. Thayer even at the commencement of this litigation. This pre-suit concession

 should be more on the order of 60% to account for both gender discrimination and

 defamation. Additionally, there does not appear to be any reason why this concession

 would not reach back to Attorney Baber's first meeting with Dr. Thayer on April 3, 2008.

 Reducing Attorney Baber's time for this period by 60% results in a lodestar calculation of

 $2187.00.

               b. January 13, 2009—November 10, 2009

        Dr. Thayer describes this period as a period beginning with the initiation of suit

 through the amendment of her complaint, including discovery. The billings support a

 finding of an additional 140 hours expended by Attorney Baber in this time period. Dr.

 Thayer suggests a 30% reduction in the billings to account for time spent on other

 theories and on discovery associated with Elizabeth Britton, but I fail to see why this

 period should be treated differently than the prior period. The fact that Dr. Thayer came

 to the conclusion that she should abandon her gender discrimination claim does not mean

 that it was not a primary focus of her discovery effort. Assuming that her focus on

 gender discrimination did drop off in this period to some degree, that loss of emphasis

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 also coincided with increased effort associated with Dr. Shershow's expert testimony.

 For reasons explained in relation to the next period of time, effort associated with Dr.

 Shershow is subject to a deduction as well. Taking all of these factors into consideration,

 I apply the 60% deduction to all of the hours expended in this period. Attorney Baber's

 time for this period, reduced by 60%, results in a lodestar calculation of $12,600.00.

               c. November 19, 2009—April 1, 2010

        Dr. Thayer describes this period as the summary judgment phase of the litigation.

 She maintains that there should be no discount for billings in this time period. It is true

 that gender discrimination was no longer part of the case and that summary judgment did

 not address the defamation claim. However, some discount is called for because the

 summary judgment issues included a constructive discharge claim that failed at trial.

 Additionally, a number of hours went into a Daubert motion to limit or prevent testimony

 by Dr. Shershow. Not all of the attorney's fees associated with Dr. Shershow should be

 shifted to Eastern Maine Medical Center because his testimony was designed, in part, to

 support the constructive discharge theory. Due to various block billing entries (e.g., Jan.

 13-28, 2010) there is no way to determine the exact number of hours spent on the

 constructive discharge theory. On balance, a 20% reduction is fair and reasonable for the

 billings made throughout the summary judgment time period. The billings demonstrate

 134.4 hours expended by Attorney Baber in this time period. A 20% reduction yields

 107.5 hours, resulting in a lodestar of $24,192.00.




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               d. April 5, 2010—July 22, 2010

        Dr. Thayer describes this period as the pretrial through trial phase. The billings

 support a finding of an additional 275.1 hours expended by Attorney Baber in this time

 period. Dr. Thayer is willing to concede 10% of this time as being attributable to the

 defamation claim. Based on the time expended on the defamation claim at trial, that is a

 fair approximation, though perhaps a bit shy of the mark. I conclude that a 10%

 reduction is reasonable provided that Dr. Thayer also concede all of the 11.5 hours

 expended by Attorney Baber on July 12, the first day of trial. Although Attorney Baber

 did not spend all of his time on July 12 on the defamation claim, it was the primary focus

 and loss of the additional time spent on this day accounts for subsequent examination of

 Dr. Tabbah and Dr. Thayer in relation to the defamation claim and, when added to the

 10% concession, more accurately accounts for the effort associated with the defamation

 claim. With these deductions, the billings for this period support a lodestar calculation of

 $53,379.00.

        2. Further deduction for partial success

        The lodestar total for the whistleblower retaliation claim comes to $92,358.00. To

 account for Dr. Thayer's failure to receive an award of compensatory damages, discretion

 is exercised to reduce the fee award by 60%, resulting in a fee award in the amount of

 $36,943.20. Plaintiff's motion for fees is granted in this amount.

        3. Costs

        Dr. Thayer's motion includes a request for costs in the amount of $35,563.64.

 Eastern Maine Medical Center objects to components of the bill of costs. One of the

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 objections relates to awarding costs associated with expert witness fees. In this case,

 $24,884.14 of the bill of costs relates to the expert witness fee for John Shershow, M.D.

 Eastern Maine Medical Center argues that shifting the entire costs of Dr. Shershow to it

 would be unfair because (1) the Whistleblower Protection Act and the Maine Human

 Rights Act do not expressly authorize the shifting of expert witness fees; (2) "Dr.

 Shershow's testimony did not contribute to any success on the part of the Plaintiff"; and

 (3) the fees charged are "unreasonable and exorbitant." (Obj. to Pl.'s Mot. for Atty. Fees

 and Costs at 7.)

        Maine law allows a court to award to a prevailing party "reasonable attorneys' fees

 and costs." 5 M.R.S. § 4614. The Maine Superior Court has ruled that costs of an expert

 witness may be awarded under this provision. Berube v. A-P-A Transp., Inc., No. 83-

 403, 1985 Me. Super. Lexis 306 (Oct. 29, 1985). I conclude that an expert witness fee is

 appropriately shifted as part of a Maine Human Rights Act award where the expense is

 reasonably justified to support the claim. In this case, a significant portion of Dr.

 Shershow's testimony was directed toward explaining why issuance of the corrective

 action plan was harmful to Dr. Thayer's employment record and career prospects and

 why it justified her resignation from employment. The Jury's verdict on damages and

 constructive discharge reflects that they did not find this testimony persuasive. On the

 other hand, Dr. Shershow's testimony was helpful to Dr. Thayer because it also cast doubt

 on the idea that her conduct was fairly considered disruptive and the testimony therefore

 helped to distinguish her complaints about another physician's observation of a standard

 of care from what could fairly be regarded as disruptive behavior based on reasonable

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 peer review standards. Retention of an expert witness to support that position was

 justified in this case.

        On balance, a reasonable cost-shifting award calls for a 60% or greater reduction

 in Dr. Shershow's fee to account for only partial success. However, the fee is also

 exorbitant by local standards, being based on an hourly rate of $600 and a rate of $7000

 per day for trial testimony. The award will be limited to 20% of Dr. Shershow's total bill.

 Of the $24,884.14 requested, only $4,976.83 will be awarded. This leaves $10,679.50 in

 additional costs for the Clerk to consider under the normal rules of computing costs in a

 case of this nature.

                                       CONCLUSION

        Defendants' Renewed Motion for Judgment as a Matter of Law (Doc. No. 164) is

 DENIED.

        Plaintiff's Motion to Amend Judgment and for New Trial (Doc. No. 160) is

 GRANTED, IN PART. The request for a new trial of Count I and/or Count II is

 DENIED. The request to amend judgment is GRANTED, IN PART. Judgment will be

 amended to declare the Jury's finding that Eastern Maine Medical Center violated the

 Whistleblower Protection Act and to include an award of nominal damages, as follows:

           Based on the Jury's verdict so finding, the Court declares that Eastern
        Maine Medical Center violated Plaintiff Kristine Thayer's rights under the
        Whistleblower Protection Act. Because compensatory damages were not
        awarded by the Jury, judgment is hereby entered for the Plaintiff Kristine
        Thayer as against Defendant Eastern Maine Medical Center in the sum of
        $1.00 on Count I.




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        Plaintiff's Motion for Attorney's Fees and Costs (Doc. No. 161) is GRANTED.

 Reasonable attorney's fees are awarded in the amount of $36,943.20. The request for

 costs associated with Plaintiff's expert witness is allowed in the amount of $4,976.83.

 The Clerk will address the remainder of the bill of costs.

        So Ordered.

        September 23, 2010                 /s/ Margaret J. Kravchuk
                                           U.S. Magistrate Judge




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